             Case 1:21-cr-00046-RDM Document 33 Filed 05/14/21 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
        v.                                     :       Case No. 21-CR-46-RDM
                                               :
PATRICK MONTGOMERY,                            :
                                               :
                 Defendant.                    :

                  GOVERNMENT’S UNOPPOSED MOTION TO MODIFY
                        PRETRIAL RELEASE CONDITIONS

        The government files this motion in response to the Court’s encouragement to the parties

to discuss alternative conditions for pretrial release before the defendant is required to self-

surrender on Monday, May 17, 2021 at 2:00 p.m. E.S.T. The government represents that it has

reached an agreement with defendant Patrick Montgomery regarding pretrial release conditions

in lieu of detention, as detailed below. 1

                                             BACKGROUND

        On May 12, 2021, the government filed a motion seeking to revoke defendant Patrick

Montgomery’s pretrial conditions of release because Montgomery used a handgun to shoot a

mountain lion at a Colorado Parks and Wildlife (“CPW”) park located in Denver, Colorado,

despite having previously been convicted of a felony offense. 2 After a hearing on the

government’s motion on May 14, 2021, the Court granted the government’s motion and ordered



1
  The government is no longer seeking to revoke defendant’s pretrial release, but instead is
requesting that the Court impose the conditions detailed herein.
2
  The details of that offense are stated in the Government’s Motion to Revoke Defendant’s
PreTrial Release (ECF Doc. 31). The government also received the CPW Report of
Investigation related to the shooting incident after the hearing on May 14, 2021, and has attached
it as Exhibit 1 to this Motion.
                                                   1
          Case 1:21-cr-00046-RDM Document 33 Filed 05/14/21 Page 2 of 3




that Montgomery’s pretrial release is revoked and that he shall be detained pending trial. The

Court, however, encouraged the parties to discuss a potential alternative to incarceration and set

another hearing for Monday, May 17, 2021 at 9:00 a.m.

       The government and defense were able to reach agreement on pretrial conditions of

release—short of detention—that the government believes will ensure the safety of the

community.

                   PROPOSED PRE-TRIAL CONDITIONS OF RELEASE

       The government and defense agree to the following pre-trial conditions of release and

request that the Court impose these conditions in lieu of detention:

   •   Home Incarceration. The defendant shall be restricted to 24-hour-a-day lock-down at
       his residence except for medical necessities and court appearances or other activities
       specifically approved by the court;

   •   GPS monitoring. The defendant shall submit to location monitoring as directed by the
       pretrial services office or supervising officer and comply with all of the program
       requirements and instructions provided;

   •   Firearms Prohibition. The defendant shall not have access to or possess any firearms,
       destructive device, or other weapon;

   •   Hunting Prohibition. The defendant shall not participate in any hunting-related
       activities, either personally or professionally;

   •   The defendant shall not commit any Federal or State crimes;

   •   The defendant shall comply with all previously ordered conditions of release in the Order
       Setting Conditions of Release as to Patrick Montgomery, signed by Magistrate Judge
       Robin M. Meriweather on 2/10/2021 (ECF Doc. 8)



       For the reasons stated above, the government respectfully requests that the Court impose

the proposed pre-trial conditions of release in lieu of detention.




                                                  2
Case 1:21-cr-00046-RDM Document 33 Filed 05/14/21 Page 3 of 3




                                  Respectfully submitted,

                                  CHANNING PHILLIPS
                                  Acting United States Attorney
                                  D.C. Bar No. 415793

                           By:    /s/ Elizabeth C. Kelley
                                  Elizabeth C. Kelley
                                  Assistant United States Attorney
                                  D.C. Bar No. 1005031
                                  United States Attorney’s Office
                                  555 4th Street, N.W.
                                  Washington, DC 20350
                                  (202) 252-7238
                                  Elizabeth.Kelley@usdoj.gov




                              3
